                    UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

 In the Matter of:                             }
 IN THE WIND, LLC                              }    CASE NO. 19-81991-CRJ-11
                                               }
                                               }    CHAPTER 11
                       Debtor                  }



              ORDER DIRECTING DEBTOR TO FILE REPORT TO COURT


        On September 30, 2019, this case came before the Court for Final Hearing on Debtor’s
 Motion to Use Cash Collateral. Appearing at the hearing were Richard Collins, Esq., counsel for
 the Debtor, and Richard Blythe, Esq., counsel for the Bankruptcy Administrator.

        During the hearing, the Debtor submitted a Second Amended Cash Collateral Budget in
 support of its Motion to Use Cash Collateral, comparing Debtor’s projected August 2019 budget
 with actual expenditures. At the conclusion of the hearing, the Court approved the Debtor’s
 Motion to Use Cash Collateral through the month of November 2019 subject to the Debtor filing
 monthly reports comparing projected expenditures with actual expenditures.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that counsel for the
 Debtor is hereby directed to file a Report to Court on or before October 11, 2019 by 5:00 p.m.,
 CDT, comparing the Debtor’s projected budget for the month of September 2019 with actual
 expenditures.


 Dated this the 1st day of October, 2019.

                                                    /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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